     Case 4:24-cv-00434-AW-MAF       Document 16     Filed 10/30/24   Page 1 of 6




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


REIYN KEOHANE,                         :
                                       :
      Plaintiff,                       :
                                       :
v.                                     :      Case No. 4:24-cv-434-AW-MAF
                                       :
RICKY D. DIXON, in his                 :
official capacity as Secretary         :
of the Florida Department of           :
Corrections; CLAYTON WEISS             :
in his official capacity as Health     :
Services Director of the Florida       :
Department of Corrections;             :
GARY HEWETT, in his official           :
capacity as Warden of                  :
Wakulla Correctional Institution,      :
                                       :
      Defendants.                      :


               MOTION FOR RECONSIDERATION
     CONCERNING DENIAL OF TEMPORARY RESTRAINING ORDER

      Plaintiff Reiyn Keohane respectfully requests that this Court reconsider its

denial of her request for a temporary restraining order, ECF 14 (Order Regarding

Preliminary Injunction Motion). This request for reconsideration is based on two

grounds. First, the Order stated that “Keohane has not shown why the action could

not have been filed in time to allow an orderly resolution of the request for relief,”
    Case 4:24-cv-00434-AW-MAF       Document 16     Filed 10/30/24    Page 2 of 6




because “the announcement that triggered Keohane’s claim was on September 30,

but Keohane waited until Friday, October 25 to initiate this action.” ECF 14 at 3.

Keohane explains below why she could not have filed earlier. Second, the Order

focuses on hormone therapy, which, according to the policy, would be titrated over

time, yet the rescission of Procedure 403.012 (“Identification and Management of

Inmates Diagnosed with Gender Dysphoria”) and instantiation of Health Services

Bulletin 15.0.23 has additional significant immediate impact. Starting today,

October 30, inmates with gender dysphoria would be forced to have their hair cut in

accordance with male grooming standards and otherwise comply with male

grooming and clothing standards. This immediacy and harm of this planned action

by FDC is also addressed below.

      Keohane sought relief as soon as possible

      First, as noted in the attached Tilley Declaration (ECF 16-1), counsel for

Keohane encountered a series of obstacles that delayed filing suit.

      Counsel faced significant delays in efforts to communicate with Keohane.

When counsel messaged Keohane’s classification officer via email to arrange a call

with her, due to a change in classification officer, trouble getting someone on the

phone, and then Hurricane Milton, it took until October 16 to even reach someone

with whom counsel could arrange a call. Additionally, getting the necessary
    Case 4:24-cv-00434-AW-MAF         Document 16      Filed 10/30/24    Page 3 of 6




information from Keohane was further delayed by the ordinary limitations that exist

in making inmates available for legal calls, e.g., limited days available for legal calls;

inability to get notice to inmates in time for emergency calls; and limited time for

calls. See Tilley Decl. (ECF 16-1) ¶¶ 5-7.

      Moreover, the critical new policy restricting care is Health Services Bulletin

15.05.23. Despite filing a public-records request encompassing this document on

October 4, 2024, FDC has not yet replied. Counsel was not able to get a copy of the

document until the afternoon of October 24, 2024, and filed the complaint and

temporary restraining order (“TRO”) motion the very next day. See Tilley Decl.

(ECF 16-1) ¶¶ 4, 8-9.

      Absent a TRO, Keohane and proposed class members will face immediate
      irreparable harm
      The second reason for requesting reconsideration of the denial of emergency

relief is the irreparable harm that Keohane and proposed class members will endure

as soon as today, October 30, absent the relief. Keohane and other inmates were told

that a new policy would be enforced 30 days from September 30, 2024, and that, in

addition to its impact on hormone therapy, they would have to have their hair cut to

comply with male grooming standards and give up female undergarments and

commissary items. They were told that, if they did not comply by that deadline,

October 30, 2024, they would have their hair forcibly shaved and receive
    Case 4:24-cv-00434-AW-MAF       Document 16     Filed 10/30/24   Page 4 of 6




disciplinary action, despite these accommodations for their gender dysphoria having

been provided for many years. Keohane Decl. (ECF 4-7) ¶¶ 19–26. That same day

(counsel learned much later), FDC had formally rescinded its Procedure 403.012—

which provides for hormone therapy and grooming, clothing, and canteen

accommodations for inmates with gender dysphoria—and replaced it with a policy

that prohibits hormone therapy and makes no provision for access to female clothing

and grooming standards for these inmates.

      FDC staff have repeatedly indicated to Keohane and other inmates with

gender dysphoria that FDC would be enforcing the hair and other grooming and

clothing requirements starting October 30, 2024. For example, when Captain Wilson

walks through the inmates’ dorms, he announces the number of days before he will

discipline the inmates for not cutting their hair. Keohane Decl. (ECF 4-7) ¶ 31. (“I

have heard him say, ‘Y’all better get right before then or it will be bad if you

don’t.’”). In addition, Dr. Tapia, the regional mental health director, and Major

Weirick confirmed the forthcoming enforcement. Id.

      The imminent deprivation to Keohane and proposed class members of

treatment for their gender dysphoria will result in catastrophic health consequences.

As outlined in her previous litigation in this Court on this exact issue (denial of

access to gender-affirming care under the Eighth Amendment)—in her declarations,

in her deposition, and at trial—Keohane has experienced the severe harm of FDC
    Case 4:24-cv-00434-AW-MAF        Document 16      Filed 10/30/24   Page 5 of 6




denying her necessary medical care for gender dysphoria, including having her hair

forcibly cut and being denied access to female undergarments and grooming

standards. When she was denied this care, Keohane attempted castration or suicide

multiple times. Amended Keohane Decl. (ECF 16-2) ¶¶ 14, 15, 34. Being able to

receive hormone therapy and follow female clothing and grooming standards has

made it possible for Keohane to function, alleviating the distress of gender

dysphoria. Id. ¶ 18. Without proper treatment, Keohane fears extreme spikes of

distress and dysphoria, as she has previously experienced when her care was

removed. Id. Specifically, the ability to wear her hair long and women’s underwear

and bras is instrumental for Keohane to cope with her symptoms of gender

dysphoria. Id. Her hair is currently past her shoulders, and it took about two years to

grow to this length. If she is forced to cut her hair today, it would take years to grow

back to this length. Id. ¶ 17. If Keohane is forced to wear boxers instead of female

undergarments, she will be reminded every moment of every day of the parts of her

body that do not align with her gender identity, thus increasing her gender dysphoria.

Id. ¶¶ 14, 18. Boxers do not conceal or hold down her genitals as women’s

underpants do. Id. ¶ 14. When she was denied female undergarments in the past, she

tried to castrate herself. Id.

       The only remedy to prevent the irreparable harm to Keohane and the proposed

class members of having their heads forcibly shaved as soon as today is to grant a
    Case 4:24-cv-00434-AW-MAF      Document 16    Filed 10/30/24   Page 6 of 6




motion for a temporary restraining order. If Keohane is forced to shave her head

today and loses access to other accommodations necessary for her gender dysphoria

like female clothing and grooming standards, she will suffer severe decompensation

of her health. Keohane respectfully requests reconsideration of the denial of

emergency relief.



Date: October 30, 2024
Respectfully submitted,
/s/ Daniel B. Tilley
Daniel B. Tilley (Florida Bar No. 102882)
Samantha J. Past (Florida Bar No. 1054519)
American Civil Liberties Union
Foundation of Florida
4343 West Flagler Street, Suite 400
Miami, FL 33134
(786) 363-2714
dtilley@aclufl.org
spast@aclufl.org

Li Nowlin-Sohl (Admitted only in Washington)
Leslie Cooper
American Civil Liberties Union Foundation
125 Broad Street, 18th Floor
New York, New York 10004
(212) 549-2627
lnowlin-sohl@alcu.org
lcooper@aclu.org

Counsel for Plaintiff
